 Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 1 of 31
                                                                   1



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



 ROCHELLE GARZA,              .
                              .
          Plaintiff,          .       CA No. 17-2122 (TSC)
                              .
     v.                       .
                              .
 ERIC HARGAN, et al.,         .       Washington, D.C.
                              .       Monday, December 18, 2017
          Defendants.         .       10:38 a.m.
 . . . . . . . . . . . . . . ..



                     TRANSCRIPT OF MOTION HEARING
                  FOR TEMPORARY RESTRAINING ORDER
               BEFORE THE HONORABLE TANYA S. CHUTKAN
                    UNITED STATES DISTRICT JUDGE


APPEARANCES:

For the Plaintiff:         BRIGITTE AMIRI, ESQ.
                           MEAGAN BURROWS, ESQ.
                           American Civil Liberties Union Foundation
                           125 Broad Street
                           18th Floor
                           New York, New York 10004
                           (212) 549-2500

                           ARTHUR B. SPITZER, ESQ.
                           SCOTT MICHELMAN, ESQ.
                           American Civil Liberties Union
                           of the District of Columbia
                           4301 Connecticut Avenue, NW
                           Suite 434
                           Washington, DC 20008
                           (202) 457-0800

For the Defendants:        AUGUST E. FLENTJE, ESQ.
                           U.S. Department of Justice
                           950 Pennsylvania Avenue, NW
                           Room 3613
                           Washington, DC 20530
                           (202) 514-1278
 Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 2 of 31
                                                                  2



For Defendants:            SABATINO F. LEO, ESQ.
                           WOEI-TYNG D. SHIEH, ESQ.
                           ERNESTO H. MOLINA, JR. ESQ.
                           CATHERINE DORSEY, ESQ.
                           U.S. Department of Justice
                           Office of Immigration Litigation
                           Appellate Section
                           P.O. Box 878
                           Washington, DC 20044

For Individual             PATRICK N. STRAWBRIDGE, ESQ.
Defendants:                CAROLINE A. COOK, ESQ.
                           Consovoy McCarthy Park PLLC
                           Ten Post Office Square
                           8th Floor South PMB #706
                           Boston, Massachusetts 02109
                           (617) 227-0548

Court Reporter:            BRYAN A. WAYNE, RPR, CRR
                           U.S. Courthouse, Room 4704-A
                           333 Constitution Avenue, NW
                           Washington, DC 20001
                           (202) 354-3186




Proceedings reported by stenotype shorthand.
Transcript produced by computer-aided transcription.
      Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 3 of 31
                                                                             3



 1                            P R O C E E D I N G S

 2              THE DEPUTY CLERK:      Your Honor, this is Civil

 3   Action 17-2122, Rochelle Garza versus Eric Hargan, et al.

 4        Will counsel please approach the podium and identify

 5   yourselves for the record, as well as any additional parties at

 6   your table.

 7              MS. AMIRI:    Brigitte Amiri for the plaintiff.        I'm

 8   also joined by my colleagues, Arthur Spitzer, Meagan Burrows,

 9   and Scott Michelman.

10              THE COURT:    Good morning.

11              MS. AMIRI:    Good morning.

12              MR. FLENTJE:    August Flentje for the defendants.

13   At counsel table is Ernie Molina, Sabatino Leo, Daniel Shieh,

14   and Cathy Dorsey.    Also at counsel table are attorneys for the

15   private -- private counsel for the individual defendants,

16   Patrick Strawbridge and Caroline Cook.

17              THE COURT:    And your name is pronounced Flentje?

18              MR. FLENTJE:    Flentje.

19              THE COURT:    Thank you.    And you'll be arguing?

20              MR. FLENTJE:    Yes.

21              THE COURT:    All right.    Thank you.

22        Ms. Amiri, and you'll be arguing?

23              MS. AMIRI:    Yes.

24              THE COURT:    All right.    Here we are again.     I've

25   reviewed the parties' filings, including the plaintiff's reply
      Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 4 of 31
                                                                                4



 1   that was filed this morning.      It appears that while there are

 2   some difference in the case of the two plaintiffs, the same

 3   principles are at issue as were at issue in the October hearing.

 4           So let me hear from you, Ms. Amiri, although I'm going to

 5   have more questions for both sides, given that we have a record

 6   here and a Court of Appeals opinion.

 7                MS. AMIRI:   Yes, Your Honor.    It's absolutely déjà vu.

 8   This is the same precise legal principle at issue.          There are no

 9   factual differences with respect to Ms. Roe or Ms. Poe which

10   would dictate a different outcome than for Jane Doe.          The

11   government is blocking access to abortion for two unaccompanied

12   minors in their care right now.

13           One of them, Ms. Roe, has already delayed in seeking care

14   by three weeks, and the other is close to the point at which she

15   will no longer be able to get an abortion in the state in which

16   she resides.    Time is of the essence.      The harm to these young

17   woman have already been inflicted by the defendants, and they

18   should be prohibited from inflicting further harm by further

19   delaying their access to abortion.

20           Even though abortion is very safe, each week increases the

21   risks associated with the procedure, and for all of the reasons

22   that Your Honor granted the TRO with respect to Jane Doe, we

23   believe that Jane Poe and Jane Roe are also entitled to a TRO as

24   well.

25                THE COURT:   Let me ask you, Ms. Amiri.      I'm concerned
      Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 5 of 31
                                                                            5



 1   with regard to Ms. Jane Poe, who is further along and fast

 2   approaching a point at which it might not be legal or medically

 3   advisable to have this procedure.       Now, according to your

 4   pleadings, she initially stated that, as of December 4, she said

 5   she wanted to carry her pregnancy to term and that she recently

 6   decided to have an abortion as of last week.

 7           Have you ascertained her position as of today?

 8                MS. AMIRI:   Yes, Your Honor, and the position that she

 9   was desiring to carry her pregnancy to term as of December 4 is

10   a representation made by the government.        The position that

11   Ms. Poe sought to carry her pregnancy to term on December 4 is a

12   position of the federal government.       We don't know that to be

13   true.    What we do know is that is one of the members of our

14   legal team has now met with Ms. Poe twice, and she --

15                THE COURT:   Can you give me the dates of those

16   meetings?

17                MS. AMIRI:   Yes.   She met with her twice on Friday,

18   this past Friday.

19                THE COURT:   The 15th.

20                MS. AMIRI:   Yes, the 15th, and she was adamant in her

21   decision to have an abortion, understood that the limit was

22   quickly approaching, and was repeated in her request to have

23   access to abortion as soon as possible.

24                THE COURT:   All right.   You can continue, Ms. Amiri.

25                MS. AMIRI:   So, Your Honor, with respect to the harm
      Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 6 of 31
                                                                          6



 1   with Ms. Poe, the limit is quickly approaching.         We want

 2   to be able to make sure that she gets the care that she is

 3   constitutionally entitled to receive, and also that she has

 4   decided to have, without further delays.

 5        And with Ms. Poe -- Ms. Roe, rather -- she has been delayed

 6   three weeks already.     The government's suggestion that she

 7   should be delayed two weeks further on the hope that they place

 8   her with a sponsor is, frankly, absurd.        Not only would that

 9   mean that she was delayed five weeks in obtaining an abortion,

10   but as we know from Jane Doe, this promise of quick sponsorship

11   reunification is illusory.

12              THE COURT:    Ms. Amiri, what of the government's

13   argument that, with regard to Jane Poe, she should be -- because

14   she is the proponent of the motion for a temporary restraining

15   order, she should be required -- it's her burden to show

16   nonviability?

17              MS. AMIRI:    Your Honor, that's not our burden, number

18   one; and number two, it would be impossible given that they have

19   obstructed access to medical care.       She has not had an ultrasound.

20   We don't have proper dating at this point.        She needs to be

21   allowed to go to a proper physician who will give her a medical

22   examination that is appropriate, make a determination about her

23   pregnancy, provide neutral options counseling, and allow her to

24   proceed with her desired course of action.

25              THE COURT:    And can you respond also to the
      Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 7 of 31
                                                                                  7



 1   government's assertion that this case does not fall under the

 2   D.C. Circuit's en banc opinion in the earlier TRO because of the

 3   availability of -- the potential availability of a sponsor for

 4   Ms. Roe?

 5              MS. AMIRI:    Well, Your Honor, in Ms. Doe's case, they

 6   had promised a sponsor in -- I believe it was 11 days.            And here

 7   they are seeking 14 days to do that for Ms. Roe.

 8        And as we know, Jane Doe, to this day, remains in a

 9   shelter.   She has not been reunified with a sponsor.         We put

10   evidence before this Court from the former director of the

11   Office of Refugee Resettlement, explaining the steps that it

12   takes for a sponsorship process to happen.        We knew that it was

13   going to take longer than 11 days.       We can assume it's going to

14   take longer than 14 days.

15        But even if it could happen in that short period of time,

16   the government can't force Ms. Roe to remain pregnant against

17   her will for another two weeks on the hopes that she may be

18   reunified with her sponsor.

19              THE COURT:    Can you address the government's argument

20   as to why Judge Millett's opinion doesn't apply to these

21   particular plaintiffs?

22              MS. AMIRI:    Your Honor, I believe that this case is

23   on all fours.    The en banc decision was a stay opinion.         It is

24   instructive for this Court.      It is not preclusive.      But with

25   respect to the facts at hand, there are no real differences that
      Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 8 of 31
                                                                              8



 1   would dictate a different outcome.       With respect to Supreme

 2   Court precedent, it is very clear that the government cannot ban

 3   abortion, and that is precisely what they are doing in these

 4   cases with respect to Ms. Roe and Ms. Poe, just as they did with

 5   Jane Doe.

 6               THE COURT:   Are the two plaintiffs in different states

 7   or in the same state?

 8               MS. AMIRI:   They're in different states, Your Honor.

 9               THE COURT:   All right.

10               MS. AMIRI:   Thank you, Your Honor.

11               THE COURT:   Thank you, Ms. Amiri.

12        Mr. Flentje?

13               MR. FLENTJE:    May it please the Court.      We think

14   that under Judge Millett's opinion, and if you look at both

15   opinions that she wrote, there are a lot of difficult factual

16   circumstances that are relevant to the difficult issues ORR is

17   facing when asked to facilitate the ability to obtain an

18   abortion by a minor in its care.

19               THE COURT:   Let me ask you, Mr. Flentje, I have some

20   question as to how does this work with Mr. Lloyd.          These girls

21   are being held in different states, in various states in various

22   detention facilities.      For example, Jane Doe was held in Texas.

23   It doesn't say where these two --

24               MR. FLENTJE:    The location of these women is not in

25   the --
      Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 9 of 31
                                                                           9



 1               THE COURT:   I know.   It doesn't say where they're

 2   being held, but it's not in Texas because there's no judicial

 3   approval mechanism involved.

 4        According to the regulation that -- according to the ORR's

 5   new procedure that was announced in March -- and I'm quoting --

 6   it says that all federally funded shelters are prohibited from

 7   taking -- and I'm not quoting; this is my summary -- any action

 8   that facilitates is a quote -- any action that facilitates

 9   abortion access for unaccompanied minors absent direction and

10   approval from the director of ORR, who is Mr. Lloyd.

11        How does that actually work?       Does Mr. Lloyd travel from

12   facility to facility to meet with the girls individually and

13   find out -- I mean, how does that actually work?

14               MR. FLENTJE:   I'm not aware of that, but I mean

15   since -- there is a policy that major medical care, including

16   abortion, requires approval from ORR.

17               THE COURT:   Yeah, but ORR seems to have -- with regard

18   to abortion specifically, it appears from the regulation or from

19   the policy that Mr. Lloyd has to be consulted and give approval

20   in the case of every girl in one of these facilities who is

21   pregnant.   Is that right?

22        I mean, does he go around and does he get a call and say

23   there's a -- we have a young woman who's pregnant in this state,

24   in this facility; can you come and talk to her?         I mean, how

25   does that actually work logistically?
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 10 of 31
                                                                              10



 1               MR. FLENTJE:   We've seen a few instances of this; but

 2   I think the request goes to ORR, that request is considered,

 3   options other than abortion are considered, sponsorship --

 4               THE COURT:   By whom?

 5               MR. FLENTJE:   Like finding a sponsor.      Well, by ORR,

 6   and the ultimate decision is made by the director, which is sort

 7   of normal for agency actions.       So, I mean, it shouldn't be seen

 8   as unusual that the director is the ultimate decision-maker --

 9               THE COURT:   I'm not -- that's not the import of my

10   question.   What I'm wondering is how it works.        In other words,

11   is -- does the ORR director make the final decision for every

12   girl, or does he delegate that -- I mean, does the detention

13   facility say we have -- does he personally meet with the girls?

14   Does he consider a report from this facility?        How does that

15   work?

16               MR. FLENTJE:   I don't know those details of how the

17   policy is implemented.

18               THE COURT:   Okay.

19               MR. FLENTJE:   I do know that an ORR approval is

20   required, and I know that ORR tries to find alternatives such

21   as sponsorship.    And if I can kind of turn --

22               THE COURT:   And ORR does this even in the face of a

23   girl who has made clear her desire to terminate her pregnancy?

24               MR. FLENTJE:   Yes.

25               THE COURT:   So does the girl's decision, the young
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 11 of 31
                                                                             11



 1   woman's decision and desire factor in at all in this process?

 2              MR. FLENTJE:    Well, I think it probably varies because

 3   there are different regimes in different states, and how this

 4   works -- in Jane Doe's case, there was a bypass procedure that

 5   played a role --

 6              THE COURT:   But the Constitution doesn't require that.

 7   Right?   I mean --

 8              MR. FLENTJE:    The Constitution certainly doesn't

 9   require it, but it allows it.      But I think ORR is -- their

10   statute obligates them to look out for the interests of the

11   child.   So that is one thing that they consider.        But I think,

12   certainly, in the facts of these cases, we have a lot fewer

13   facts on the record for these cases.

14        And I think -- if I can say, I think Judge Millett's

15   opinion acknowledged that sponsorship is an ideal situation,

16   but it just took too long the last time.        I think, for Ms. Roe,

17   we're very early in the pregnancy and very advanced in the

18   sponsorship search, and ORR estimates it would take just two

19   more weeks if, you know, the application comes in, for that to

20   be approved.   This is a much easier sponsorship situation than

21   what we faced before, because the potential sponsor is a U.S.

22   citizen.   That makes a lot of things more straightforward.

23              THE COURT:   Well, I'm not sure if I read Judge

24   Millett's opinion in the same way that you do, but let me ask

25   you, with regard to this sponsorship application, how do you
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 12 of 31
                                                                                12



 1   respond to Ms. Amiri's point that, given how long the government

 2   said it needed for sponsorship in Ms. Doe's case, and Ms. Doe

 3   remains in a detention center, what makes you think that two

 4   weeks is even a realistic -- this is assuming that I agree with

 5   your argument about the import of Judge Millett's opinion, but

 6   why do you -- what makes you think that a two-week estimate is

 7   reasonable?   For one thing -- let me ask you, how many documents

 8   need to be gathered?

 9              MR. FLENTJE:    Well, I mean, I think the application

10   has been made, but there's fingerprinting, there's an interview,

11   so there's things that the sponsor needs to submit.         ORR will

12   move very quickly --

13              THE COURT:   Do you have any reason to believe that

14   that documentation can be easily provided?        I mean, you know,

15   the person, whoever it is, has to be approved.         As I recall, the

16   last time I think when we had argument -- or maybe this was from

17   the appellate argument; I don't remember.        But there were some

18   rules about sponsorship like you couldn't be, like, a single

19   male, or there were age requirements.       I mean, there are a lot

20   of requirements just to be eligible to be a sponsor, correct,

21   before you even get into the application process?         Is that right?

22              MR. FLENTJE:    Sure.

23              THE COURT:   Okay.    Has this potential sponsor -- does

24   this potential sponsor even meet those minimum requirements?           I

25   mean, is this person, you know, within all the requirements that
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 13 of 31
                                                                           13



 1   were described before?

 2                MR. FLENTJE:   I mean, I don't want to talk beyond the

 3   record, and it is a limited record, but the application has been

 4   submitted.    ORR does not have any information to suggest that

 5   it's not a sponsorship that can get approved.

 6                THE COURT:   How long do background checks take to

 7   implement?

 8                MR. FLENTJE:   ORR has estimated that if the paperwork

 9   gets in quickly, the whole thing can be done in two weeks.

10                THE COURT:   Okay.

11                MR. FLENTJE:   That is an estimate --

12                THE COURT:   How many home visits are required?

13                MR. FLENTJE:   Well, a home study --

14                THE COURT:   A home study.

15                MR. FLENTJE:   -- is required, and I don't know how

16   many visits that entails, I'm sorry.

17                THE COURT:   All right.   And if the background check or

18   the home visit turns up something of concern, how long does that

19   take to resolve?

20                MR. FLENTJE:   Obviously, if the sponsor has problems

21   and it won't be approvable, then, you know, that would -- I

22   think ORR thinks a decision can be made in two weeks and --

23                THE COURT:   So ORR's estimate of a decision in two

24   weeks is based upon an assumption that everything will go

25   smoothly --
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 14 of 31
                                                                            14



 1               MR. FLENTJE:   I think it's based --

 2               THE COURT:   -- in other words, the documents will

 3   be provided promptly, there won't be any major problems --

 4               MR. FLENTJE:   Yeah, things do have to go smoothly.

 5   I mean, obviously, the sponsor is in control of the timing,

 6   somewhat, because papers and fingerprints are due.

 7               THE COURT:   In determining the eligibility of a

 8   sponsor for girls who are pregnant, does the government ask the

 9   sponsor whether they would be willing to allow an abortion, or,

10   conversely, are sponsors only considered who would not allow an

11   abortion?   Is that a factor that's considered?

12               MR. FLENTJE:   I can tell you on -- in answer to the

13   second question, no, they do not consider that.         I don't know

14   what questions are asked.     But they do not -- they do not base

15   sponsorship on views about abortion.

16               THE COURT:   Is that an inquiry that is made of the

17   sponsor?

18               MR. FLENTJE:   I just don't know.

19               THE COURT:   And is the potential sponsor told that the

20   young woman is pregnant?

21               MR. FLENTJE:   I think -- you entered an order in the

22   first case that that couldn't happen.       I think that they would

23   normally probably talk about issues like that.

24               THE COURT:   I'm sorry.   I didn't even let you get into

25   your argument.   Please continue.
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 15 of 31
                                                                           15



 1                MR. FLENTJE:   Well, I mean, our main point is that

 2   Judge Millett recognized that there are a variety of factors

 3   that are relevant.    The most pressing one that was at issue in

 4   the last case was the significant period of time.

 5        In that case, it had already been seven weeks of sponsor

 6   search, no applicant had been identified at the time, there had

 7   been two who had applied and failed, and the government was

 8   unable to provide a timeline for completing or finding an

 9   applicant.    All those facts are different here.

10                THE COURT:   Well, the government's timeline in this

11   case is only an optimistic estimate, isn't it?         I mean, it's two

12   weeks if everything goes well.

13                MR. FLENTJE:   It's an estimate of within two weeks,

14   and that's -- you know, I don't want to get to the end of my

15   argument.    That's one reason why we'd ask for a two-week stay of

16   whatever this Court rules.

17        We're also -- for Ms. Roe, it's earlier in the pregnancy,

18   which I think gives a small amount of flexibility on timing.

19   I think there are other issues of concern given the speed with

20   which they have requested a court order.        Neither minor has a --

21                THE COURT:   Well, the speed is a factor of the fact

22   that time is of the essence, especially with regard to Ms. Poe.

23   I mean --

24                MR. FLENTJE:   Absolutely.

25                THE COURT:   -- it's literally a matter of every day
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 16 of 31
                                                                            16



 1   counts.   How does, then -- how is Ms. Poe, then, not in danger

 2   of suffering irreparable harm if every day moves her fact

 3   towards a position where she will not be able to avail herself

 4   of a termination of her pregnancy?       How is that not irreparable

 5   harm?

 6                MR. FLENTJE:    We'd certainly agree that time is of the

 7   essence in that case.       We do have concerns that that time has

 8   already passed.

 9                THE COURT:   As to Ms. Poe, is the government's

10   position that, because it's unclear how far along she is, that

11   she should be required to prove that -- required to prove

12   nonviability?    Is that her burden here?     Is that how I read your

13   motion?

14                MR. FLENTJE:    Our declaration indicates she's

15   approximately 22 weeks into pregnancy.

16                THE COURT:   But has she been able to meet with a

17   physician?    Has she received an ultrasound?      I mean, these are

18   approximate dates, and people are different, pregnancies are

19   different.    Has she been allowed to meet with a physician?

20                MR. FLENTJE:    These details aren't in the record yet,

21   but my understanding is that she's received appropriate medical

22   care other than her request to obtain an abortion.         So I do

23   think she -- I do understand that she has met with, you know,

24   OB/GYN and --

25                THE COURT:   What would Ms. Poe have to do in order to
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 17 of 31
                                                                         17



 1   satisfy the government that she was making an informed choice?

 2                MR. FLENTJE:   There is -- with respect to Ms. Poe,

 3   I wanted to let the Court know a decision was made yesterday,

 4   late yesterday, by ORR that abortion would not be in the best

 5   interest in that situation.

 6                THE COURT:   Based on what?

 7                MR. FLENTJE:   Well, there is -- I think based on

 8   concerns about the impact on her --

 9                THE COURT:   On whom?   On Ms. Poe?

10                MR. FLENTJE:   On Ms. Poe.    So there is actually a

11   decision that's been made there.      That is something that, you

12   know, we could review -- it would have to be under seal -- and

13   provide to the Court.

14                THE COURT:   I would like that provided by five o'clock

15   today.   I mean, is that decision any -- so she has no sponsor,

16   but a decision has been made that she will not be allowed to

17   terminate her pregnancy.

18                MR. FLENTJE:   Obviously, a sponsorship search will

19   continue, but that --

20                THE COURT:   Yes.

21                MR. FLENTJE:   -- is a decision of the agency that's

22   been made.

23                THE COURT:   But there's no potential sponsor on the

24   horizon at this time, correct?

25                MR. FLENTJE:   We have not identified one in our
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 18 of 31
                                                                           18



 1   declaration.

 2                THE COURT:   And is it the government's position that

 3   despite Ms. Poe's last-stated desire to terminate her pregnancy

 4   as quickly as possible, that ORR has determined that under no

 5   circumstance -- or that -- forget that -- that Ms. Poe will not

 6   be permitted to do that, and it's done so based on --

 7                MR. FLENTJE:   Basically, a best-interest termination.

 8   ORR has --

 9                THE COURT:   How does that overcome her constitutional

10   right?

11                MR. FLENTJE:   Well, we're --

12                THE COURT:   It may be certainly ORR's opinion that it

13   is in her interest, but how does ORR have more rights over her

14   than, for example, a parent?      A parent wouldn't be allowed to

15   make that decision, right?

16                MR. FLENTJE:   Well, I mean, the Supreme Court has

17   authorized sort of parental consent procedures that allow a

18   court ultimately to make a best-interest determination, and

19   there's state law.

20                THE COURT:   But the states in this case don't have

21   those procedures.    The states have determined, by the absence of

22   judicial procedures, that the decision can be made by the young

23   women.   Okay.   This isn't Texas, and so Casey isn't really

24   applicable here.

25        So it appears to me that what ORR has done -- has said,
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 19 of 31
                                                                             19



 1   well, despite the fact that her parents wouldn't have the right

 2   to stop her, ORR has some right that extinguishes her

 3   constitutional rights?      I don't understand.

 4                MR. FLENTJE:   There's going to be no extinguishing

 5   of her constitutional rights.      Those will be heard by you,

 6   Your Honor.    I do want to say ORR has the statutory

 7   responsibility to determine the interests of the child in

 8   medical care.    That is the --

 9                THE COURT:   ORR's -- tell me, is ORR's policy that in

10   no case other than, say, danger to the life of the mother would

11   a young woman in federal custody at a detention facility be

12   permitted to terminate a pregnancy?       It seems to me it's not a

13   case-by-case determination; it's a blanket determination.         Isn't

14   that right?

15                MR. FLENTJE:   No.   It was a case-by-case determination.

16   In Ms. --

17                THE COURT:   Has ORR allowed --

18                MR. FLENTJE:   There's been no determination in

19   Ms. Roe --

20                THE COURT:   Has ORR allowed a young woman in custody

21   so far to have -- to terminate her pregnancy?        Has that been

22   permitted?

23                MR. FLENTJE:   I don't know the answer to that.      I

24   do know that, in our class certification paper, we submitted a

25   declaration identifying around 17 instances.        Some of the women
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 20 of 31
                                                                            20



 1   changed their mind.       Some obtained sponsors.   So, I mean, that

 2   is sort of the best evidence we have.       And that's a little

 3   dated, obviously, now that we have Ms. Roe and Ms. Doe -- excuse

 4   me, Ms. Poe.

 5        So our primary point is, is that the facts in each case are

 6   different.    Some of them are more difficult.      Some of them I

 7   think warrant time for ORR to do its normal process so it's not

 8   required to facilitate an abortion.       The request here is a step

 9   beyond a legal prohibition that applies in a state.         It is

10   seeking actual facilitation, and we request --

11                THE COURT:    No.   There's no legal -- I mean, I

12   disagree with that characterization only because Texas had a

13   judicial approval process which Jane Doe went through, and even

14   so, ORR sought to stop her from exercising her right to

15   terminate her pregnancy.

16        The states in which the two plaintiffs here currently

17   are -- in which they're currently being held do not have similar

18   judicial process.    And what it seems to me the government is

19   asking is for this Court to say, "well, they should," and

20   initiate another layer of process.

21        Why would that even be sufficient given what happened in

22   Jane Doe?    I mean --

23                MR. FLENTJE:    Well, I mean, because of the --

24                THE COURT:    -- in Jane Doe, there was a judicial

25   process.    A state court judge had to approve her right, and
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 21 of 31
                                                                             21



 1   there was a judicial -- I think two guardians appointed for her.

 2   So even with all of that process, the government asserted that

 3   she -- they wouldn't allow her to have -- to terminate her

 4   pregnancy.    So what difference does it make?

 5                MR. FLENTJE:   Our ultimate argument in that case,

 6   which we're preserving here but understand we can't make, is

 7   that the ability to return to the country of nationality means

 8   that the United States doesn't --

 9                THE COURT:   I did read Judge Henderson's dissent.

10                MR. FLENTJE:   Well, it's a little different from

11   Judge Henderson's dissent.     It's an application of the undue

12   burden test.    That being said, I think Judge Millett recognized

13   that there are circumstances where ORR should have more time,

14   and that's kind of what we're asking about with respect to

15   Ms. Roe.

16                THE COURT:   And as to Ms. Poe, there is -- time is

17   running out.

18                MR. FLENTJE:   Time has --

19                THE COURT:   In fact, the time has run because --

20                MR. FLENTJE:   -- may have already run out.      It's

21   certainly running out.      I think our point in that case is that,

22   you know, she obviously struggled with the decision.          There's

23   evidence that very recently she was going to keep the child and,

24   you know, this is sort of -- I mean, it's a difficult situation.

25   We acknowledge that.
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 22 of 31
                                                                                 22



 1              THE COURT:   It's always a -- I mean, I think it would

 2   be somewhat cavalier of us not to acknowledge that every

 3   decision to terminate a pregnancy is a difficult one.             And the

 4   fact that it is a difficult one, and often the case is a very

 5   difficult one, doesn't negate the fact that ultimately it is her

 6   right to choose.    So if she, as one would expect, has struggled,

 7   that doesn't mean that simply because she arrived at her

 8   decision after a struggle lessens her right.        Isn't that correct?

 9              MR. FLENTJE:     I certainly understand that, Your Honor.

10   I mean, I think because ORR has this custodial relationship and

11   because some facilitation is required -- and I think the D.C.

12   Circuit acknowledged that -- what is happening here is more than

13   what Casey addressed and what cases dealing with prohibitions on

14   abortion address.    It's something more.     And because it's

15   something more, there has to be time to allow the government not

16   to have to facilitate the abortion.

17              THE COURT:   What something more is it?

18              MR. FLENTJE:     It is the facilitation that's required

19   by the government.

20              THE COURT:   But that was considered in Jane Doe's

21   case.   The government --

22              MR. FLENTJE:     It was considered , and it didn't

23   outweigh the interests of Jane Doe, which are based on the

24   specific facts, and those facts include the long sponsorship

25   search, running out of time, different factors that, at least in
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 23 of 31
                                                                              23



 1   case of Ms. Roe, are not yet present.       And that case could be

 2   resolved in two weeks with a sponsorship approval.

 3               THE COURT:   All right.   Let me ask you, with regard to

 4   either of these plaintiffs, if -- well, I guess you've already

 5   answered that question.

 6        So is it your position that, with its decision that was

 7   made I think yesterday, or recently, that it would not permit

 8   Ms. Poe to have the procedure, does ORR consider its rights or

 9   its control over Ms. Poe to be greater than parental rights?

10   In other words, if ORR were her parent, would it have the right

11   to completely veto her choice to terminate her pregnancy?

12               MR. FLENTJE:   I think section -- 6 U.S.C. 279 says ORR

13   is charged with, quote, ensuring that the interests of the child

14   are considered in decisions, and I think that is the authority

15   that's being exercised.     Whether that -- how that maps on to how

16   a parent would operate in a household I think is very different,

17   but it's an institution engaging in a governmental custodial

18   responsibility.

19               THE COURT:   If Jane Poe has decided that she wishes to

20   terminate her pregnancy, and she has a right to do so, how is it

21   ORR's decision that it is in her interest not to?         What is that

22   based on?

23               MR. FLENTJE:   It's just a best-interest determination.

24               THE COURT:   And is ORR's position that that would be

25   the case for every young woman seeking to terminate a pregnancy;
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 24 of 31
                                                                               24



 1   it would never be in their interest?

 2              MR. FLENTJE:    That it would reach the same conclusion

 3   every time?   I don't know.    I mean, I think the policy is an

 4   abortion would need to be -- facilitation of an abortion would

 5   need to be approved by ORR though the director, but there's no

 6   general policy that it will never be approved.

 7              THE COURT:   All right.    Thank you.

 8              MR. FLENTJE:    I do want to ask, before I sit down,

 9   we've asked for a stay pending appeal on three tiers:             The first

10   is pending appeal, the second is for at least two weeks for

11   Ms. Roe, and the last is for 24 hours to allow us to immediately

12   seek relief in the Court of Appeals and the Supreme Court.            I

13   would only ask that the Court rule on our stay request

14   simultaneously with its ruling.

15              THE COURT:   All right.    Thank you, Mr. Flentje.

16        Ms. Amiri.

17              MS. AMIRI:   Your Honor, with respect to approval of

18   medical procedures for unaccompanied minors, it's obviously not

19   a two-way street.    If Ms. Roe and Ms. Poe and Ms. Doe had all

20   wanted to carry their pregnancies to term, the director of ORR

21   would not have approved that process even though carrying a

22   pregnancy to term is 14 more times more dangerous in terms of

23   morbidity than an abortion.      So that right there, Your Honor,

24   I think really focuses on what the issue is here, and that is

25   the government's opposition to abortion.
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 25 of 31
                                                                               25



 1        The concept that they are using -- in terms of the

 2   best-interest standard in the statute, they are dressing it

 3   up as basically a way of justifying their veto power.             Their

 4   determination of what is in the best interest of these minors

 5   cannot supplant the minor's own decision-making.

 6        As Your Honor has pointed out, that would be a veto power

 7   over the minor's decision, which is blatantly unconstitutional,

 8   as the Supreme Court has held in Planned Parenthood v. Casey and

 9   other Supreme Court cases regarding parental consent and spousal

10   notification.

11        Also, with respect to the voluntary departure, Your Honor,

12   that would require giving up the right to stay in this country

13   to be able to obtain an abortion.      Everything that the

14   government is saying, whether it's sponsor reunification --

15              THE COURT:   Let me ask you, Ms. Amiri, some of these

16   young women who are held in these facilities, do some of them

17   have claims of, for example, asylum or abuse that are being --

18   that they're waiting to have ruled on?

19              MS. AMIRI:   We don't know enough about Ms. Poe and

20   Ms. Roe yet, but with respect to Ms. Doe, we did note that there

21   was abuse in her home country and there would be opportunities

22   to seek special immigration juvenile status for that.             So we

23   just don't know with respect to the other minors.

24        But it shouldn't hinge -- the right to abortion should not

25   hinge on these factors.     Whether there's a possible viable
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 26 of 31
                                                                          26



 1   sponsor or whether the minor is able to be reunified with family

 2   doesn't change the equation.      They are in government custody

 3   right now.   Right now they are being forced to carry their

 4   pregnancies against their will.      Right now the government is

 5   preventing them from obtaining an abortion.

 6        What it comes down to is that the government does not want

 7   these young women to have an abortion while they are in federal

 8   custody, and that is a ban on abortion and is even more extreme

 9   than the substantial obstacles struck down by the court in Casey

10   and Whole Woman's Health v. Hellerstedt.

11        Your Honor, I'd also like to just focus on one other point,

12   in addition to some housekeeping issues.        Your Honor, with

13   respect to the decision-making process that Ms. Poe is facing,

14   what we are asking is for ORR to not prohibit her from obtaining

15   an abortion.   We are not seeking anything other than the ability

16   for her to obtain proper care and make a decision on her own.

17        Whether she decides then to carry her pregnancy to term or

18   to have an abortion is completely of her own.        It is not the

19   government's decision to make, and we are simply asking that the

20   government not stand in her way or supplant her decision for

21   theirs.

22        With respect to some of the housekeeping, Your Honor,

23   I'm wondering if we could request that the deadline for any

24   submissions under seal be moved up.       We would appreciate a

25   ruling today on our TRO motion.      So if they don't submit
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 27 of 31
                                                                        27



 1   something until 5 p.m., that might delay the process.

 2              THE COURT:   I think that's fair.

 3        Given the time constraints, Mr. Flentje, I'm going to ask

 4   that any further information that I requested from you be

 5   submitted by 3 p.m.

 6              MS. AMIRI:   Thank you, Your Honor.

 7        The other thing, Your Honor, we will submit a proposed

 8   order that encompasses any sort of communications with respect

 9   to the ACLU and the shelters.      It came to our attention last

10   night that the shelters are being prohibited by ORR from

11   communicating directly with the ACLU, and we are concerned about

12   that and are concerned about any sort of routing of those

13   communications through ORR -- or Department of Justice,

14   rather -- would delay any sort of access to abortion for these

15   young women.

16              THE COURT:   I believe you stated that, in both the

17   case of Ms. Poe and Ms. Roe, federal funds are not being used

18   for these procedures.     Correct?

19              MS. AMIRI:   Correct, Your Honor.

20              THE COURT:   So you're saying that you have information

21   that these facilities -- which are contracted facilities,

22   correct?

23              MS. AMIRI:   Yes, Your Honor.

24              THE COURT:   -- are not being allowed to have contact

25   with the ACLU?
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 28 of 31
                                                                             28



 1              MS. AMIRI:   Not absent the presence of DOJ.           And

 2   certainly they can speak to this, but it is our concern that

 3   it will slow down the process if we have to route all our

 4   communications with the shelter through Department of Justice.

 5        And so, you know, we will consider submitting a proposed

 6   order, with Your Honor's permission, to address this issue and

 7   to ensure that there are no delays in communication between the

 8   counsel for the plaintiffs and the shelters directly.

 9              THE COURT:   If you can submit that by three o'clock.

10              MS. AMIRI:   Yes, Your Honor.     We certainly will.

11        And the last thing, Your Honor, I want to mention, just

12   as a flag, you know, we have before Your Honor also the motion

13   for class certification and the motion for the preliminary

14   injunction as to the class.

15        And, you know, as we have seen now with Ms. Poe and

16   Ms. Roe, their circumstances completely undermine the

17   government's position that Jane Doe was sui generis, that

18   she was unique, that there was nobody else like her in their

19   custody.

20        We now know that the government is doing this to other

21   young women, prohibiting them from accessing abortion, and we

22   think it's crucial that we are allowed to proceed as a class

23   action and that we get preliminary relief as to the class.

24              THE COURT:   Yes, thank you.     I was working on that,

25   but I had to stop because I have this case.
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 29 of 31
                                                                                29



 1              MS. AMIRI:   I appreciate it, Your Honor.

 2              THE COURT:   But the fact of this case, obviously,

 3   does inform that one.     So, Mr. Flentje, let me ask you, what

 4   information do you have regarding the -- is that true?            Do the

 5   facilities have to -- are they prohibited from having contact

 6   with ACLU absent the presence of DOJ?

 7              MR. FLENTJE:    We're looking into that this morning.

 8   We've told the facilities that any request from ACLU that has to

 9   do with contacting their clients, they should not involve us;

10   they should be free to allow -- to enable those communications.

11        As far as communicating with the facilities on case-related

12   or injunction-related materials, the facilities are acting as

13   our agents in implementing any of this, so we have asked that

14   DOJ be included.    But we're willing to --

15              THE COURT:   Included in what?      In other words --

16              MR. FLENTJE:    To be a party to those communications

17   because they are the agents of ORR, which is our client, in

18   dealing with case-related matters.

19              THE COURT:   Okay.    Say there is a young woman at one

20   of these facilities who says to someone at the facility, "I need

21   the help of the ACLU; can you contact them for me, please?"

22   Is it your position that that contact cannot be made by the

23   facility until it's been routed through DOJ?

24              MR. FLENTJE:    No.   No.   There's been nothing like that.

25              THE COURT:   Thank you.
     Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 30 of 31
                                                                        30



 1        All right.    Thank you, all.    I will try to rule on this

 2   expeditiously.

 3        (Proceedings adjourned at 11:17 a.m.)

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
Case 1:17-cv-02122-TSC Document 75 Filed 12/18/17 Page 31 of 31
                                                                  31



                            * *   *   *   *   *

                              CERTIFICATE

           I, BRYAN A. WAYNE, Official Court Reporter, certify

that the foregoing pages are a correct transcript from the

record of proceedings in the above-entitled matter.




                          __________________
                          BRYAN A. WAYNE
